Case 4:22-cv-02692 Document 1-1 Filed on 08/10/22 in TXSD Page 1 of 5
                                                                                             6/28/2022 4:34 PM
                        Harris County - County Civil Court at Law No.2                       Teneshla Hudspeth
                                                                                                   County Clerk
                                                                                                  Harris County

                                               1187437
                               CAUSE NO.

MARGARITA MORENO                                      IN THE COUNTY CIVL COURT

VS.                                                   AT LAW NUMBER

DILLARD'S INC. dba DILLARD'S,
DILLARD TEXAS EAST,LLC dba
DILLARD'S and
DILLARD TEXAS,LLC dba
DILLARD'S                                             HARRIS COUNTY,TEXAS

                        PLAINTIFF'S ORIGINAL PETITION

          Margarita "Margie" Moreno, Plaintiff, complains of Dillard's Inc. dba

Dillard's, Dillard Texas East, LLC dba Dillard's, and Dillard Texas, LLC dba Dillard's,

Defendants, for bodily injuries caused by an unreasonably dangerous condition on the

premises in Dillard's department store at Memorial City Mall.

                                Discovery Control Plan

1. This is a level two case.

                                        Rule 47(c)

2. Ms. Moreno seeks monetary relief less than $250,000 including damages of any kind.

                                         Parties

3. Plaintiff, Margarita "Margie" Moreno, is an individual residing in Harris County,

   Texas.

4. Defendant, Dillard's Inc. dba Dillard's is a foreign corporation conducting business in

   Harris County, Texas. It may be served with citation through its registered agent: CT

   Corp. System, 1999 Bryan Street, Suite 900, Dallas, Texas, 75201-3136.

5. Defendant, Dillard Texas East, LLC dba Dillard's is a foreign limited liability

   company conducting business in Harris County, Texas. It may be served with




                                     EXHIBIT A
Case 4:22-cv-02692 Document 1-1 Filed on 08/10/22 in TXSD Page 2 of 5




    citation through its registered agent: CT Corporation System, 1999 Bryan Street,

    Suite 900,Dallas, Texas, 75201-3136.

6. Defendant, Dillard Texas, LLC dba Dillard's is a foreign limited liability company

   conducting business in Harris County, Texas. It may be served with citation through

   its registered agent: CT Corporation System, 1999 Bryan Street, Suite 900, Dallas,

    Texas, 75201-3136.

                                  Venue and Jurisdiction

7. Venue is proper in Harris County because Plaintiff's cause of action accrued in Harris

    County, Texas.

8. The Court has jurisdiction over the defendants because they conduct business in

   Texas. The Court has jurisdiction over the controversy because the damages are

    within the jurisdictional limits of this Court.

                                      Rule 28 Motion

9. Pursuant to Texas Rule of Civil Procedure 28, Ms. Moreno hereby moves the

   defendants to identify their true name if they have been named incorrectly.


                                  Notice of Use of Discovery

10. Ms. Moreno gives notice to all parties that she intends to use documents or items

   produced or received in discovery as exhibits at trial.

                                            Facts

1 1. This lawsuit results from a large glass shelffalling on Ms. Moreno's foot while

   shopping at Dillard's department store, Memorial City Mall, 900 Memorial City Way,

   Houston, Harris County, Texas, 77024 on June 30, 2020. Ms. Moreno was shopping

   at Dillard's for bed linens. She lifted a package of linens enclosed in plastic



                                              2

                                      EXHIBIT A
Case 4:22-cv-02692 Document 1-1 Filed on 08/10/22 in TXSD Page 3 of 5




   packaging when suddenly and without warning the glass shelf on which the linens

   had been resting came loose and fell on her foot. Unknown to Ms. Moreno, the

   plastic packing had adhered to the glass shelf so when Ms. Moreno lifted the plastic

   package, the shelf came loose then fell on her foot. The weight of the heavy shelf

   caused significant pain to her foot. Ms. Moreno went to the emergency room that day

   because ofthe severe pain caused by the shelf. Thereafter, she sought treatment from

   a podiatrist and received physical therapy. Ms. Moreno was under doctor's care for

   almost two years, but her foot has never returned to normal. To this day, Ms. Moreno

   is unable to wear any of her normal shoes on her damaged foot.

12. Defendants managed, controlled, occupied, and maintained Dillard's department store

   at Memorial City Mall on the date in question. Dillard's department store failed to

   prevent, warn, and eliminate the unreasonably dangerous condition of an unsecured

   glass self on which merchandise was displayed. The failure to prevent, secure or

   warn of the unsecured glass shelving on which merchandise was displayed

   proximately caused serious and permanent injuries to Ms. Moreno for which she

   seeks fair compensation.

                                          Invitee

13. Ms. Moreno was an invitee at Dillard's department store.

                                          Negligence

14. Defendants failed to act with ordinary care and prudence when it placed merchandise

   on a glass shelf that was not secured in place. It is foreseeable that the glass shelf

   could fall from its bracket if it is not secured properly. The unsecured glass shelf

   created an unreasonably dangerous condition, and such condition was not open and




                                             3

                                     EXHIBIT A
Case 4:22-cv-02692 Document 1-1 Filed on 08/10/22 in TXSD Page 4 of 5




    obvious. Defendants failed to act with ordinary care and prudence when it failed to

    prevent the glass shelffrom falling and failed to warn Ms. Moreno, an invitee, ofthe

    existence of an unsecured glass shelf. The failure of Defendants to act with ordinary

    care and prudence proximately caused serious and permanent injuries to Ms. Moreno

    for which she now seeks fair and just compensation.

                                         Damages

 15. As a proximate cause of Defendants' carelessness and imprudence in permitting the

    unreasonably dangerous condition on the premises and failing to warn of the

    unreasonably dangerous condition, Ms. Moreno suffered the following damages to

    which she is entitled at law to recover:

        a. Physical pain and mental anguish sustained in the past;

       b. Physical pain and mental anguish that, in reasonable probability, Ms. Moreno
          will sustain in the future;

       c. Disfigurement sustained in the past;

        d. Disfigurement that, in reasonable probability, Ms. Moreno will sustain in the
           future;

       e. Physical impairment sustained in the past;

       f. Physical impairment that, in reasonable probability, Ms. Moreno will sustain
          in the future;

        g. Medical care expenses incurred in the past; and

       h. Medical care expense that, in reasonable probability, Ms. Moreno will incur in
          the future.
                                        Prayer

          Based on the foregoing, Plaintiff, Margarita "Margie" Moreno, asks that

Defendants be cited to appear and answer, and on final trial, that Ms. Moreno have

judgment against Defendants,jointly and severally, for:



                                               4

                                     EXHIBIT A
Case 4:22-cv-02692 Document 1-1 Filed on 08/10/22 in TXSD Page 5 of 5




      a. Actual damages resulting from the incident in question;

      b. Pre-judgment and post-judgment interest at the highest legal rate;

      c. Costs of suit; and

      d. All other relief the Court deems appropriate.

                                   Respectfully submitted,

                                   THE GREENWOOD PRATHER LAW FIRM,PC



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                                          5

                                  EXHIBIT A
